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11 Counterclaimant TP-Link USA Corporation

12
                              UNITED STATES DISTRICT COURT
13                           CENTRAL DISTRICT OF CALIFORNIA
14                                   WESTERN DIVISION
15
     THIMES SOLUTIONS INC.,                   CASE NO.: 2:19-cv-10374-SB-E
16

17              Plaintiff,                    DISCOVERY MATTER
18        v.                                  TP-LINK USA’S NOTICE OF
19                                            MOTION AND MOTION FOR
     TP-LINK USA CORPORATION, and             TERMINATING, OR IN THE
20 AUCTION BROTHERS, INC. d/b/a               ALTERNATIVE ISSUE
21 AMAZZIA,                                   SANCTIONS, MOTION TO
                                              COMPEL RESPONSES TO
22              Defendants.                   DISCOVERY, AND REQUEST FOR
23                                            MONETARY SANCTIONS
24                                            Date:      Oct. 14, 2022
25                                            Time:      9:30 a.m.
                                              Courtroom: 750, 7th Floor
26

27                                            Discovery Cutoff:        Sept. 30, 2022
                                              Pretrial Conference:     Dec. 30, 2022
28
                                              Trial Date:              Jan. 9, 2023
                                                                     No. 2:19-cv-10374-SB-E
                  TP-LINK USA’S NOTICE OF MOTION AND MOTION FOR SANCTIONS
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 2                                           Complaint Filed:       May 29, 2019
                                             Am. 5th Am. Com. Filed: May 27, 2022
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 4 TP-LINK USA CORPORATION,

 5
               Counterclaimant,
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 7        v.

 8 THIMES SOLUTIONS INC.,

 9
               Counter-Defendant.
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                                                                    No. 2:19-cv-10374-SB-E
                 TP-LINK USA’S NOTICE OF MOTION AND MOTION FOR SANCTIONS
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 1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2         PLEASE TAKE NOTICE that on October 14, 2022 at 9:30 a.m., or as soon
 3 thereafter as the parties may be heard, at the Roybal Federal Building and United States

 4 Courthouse located at 255 East Temple Street, Los Angeles, California 90012,

 5 Courtroom 750, 7th Floor, before the Honorable Charles F. Eick, Defendant and

 6 Counterclaimant TP-Link USA Corporation (“TP-Link”) will and hereby does move

 7 for terminating sanctions against Plaintiff Thimes Solutions, Inc., or in the alternative,

 8 an order: (1) precluding Thimes from proffering evidence in opposition to TP-Link’s

 9 motion for summary judgment or at trial that TP-Link in anyway caused harm to

10 Thimes; (2) requiring Thimes to comply with the Court’s prior discovery order, ECF

11 No. 207, within three days, including by providing complete responses to Interrogatory

12 No. 12 and RFP Nos. 1, 2, and 10 and a copy of its privilege log in Excel; and (3)

13 requiring Thimes to pay monetary sanctions to TP-Link in the amount to be determined

14 by the Court.

15         This Motion is made pursuant to Federal Rules of Civil Procedure, Rules 26, 33,
16 34, and 37, on the basis that, despite having been ordered to do so by the Court, Thimes

17 has withheld discovery in violation of this Court’s August 16 Discovery Order (ECF

18 No. 207).

19         This Motion is based on the following: this Notice of Motion, the concurrently
20 Memorandum of Points and Authorities and Declaration of Heather Auyang, and all

21 other papers, documents or exhibits on file or to be filed in this action, the argument to

22 be made at the hearing on the Motion, and any and all other matters this Court deems

23 just and necessary.

24                       Compliance With Local Rules 7-3 and 37-1
25         This Motion is made following the conference of counsel pursuant to L.R. 7-3
26 and L.R. 37-1, which began on August 29, 2022 and continued through September 9,

27 2022.

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                                                1                         No. 2:19-cv-10374-SB-E
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 1 Date: September 21, 2022                    LTL ATTORNEYS LLP
 2
                                          By: /s/ Heather F. Auyang
 3                                            Joe H. Tuffaha
                                              Prashanth Chennakesavan
 4
                                              Heather F. Auyang
 5                                            Patice A. Gore
 6
                                               Counsel for Defendant and
 7                                             Counterclaimant
                                               TP-Link USA Corporation
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                 TP-LINK USA’S NOTICE OF MOTION AND MOTION FOR SANCTIONS
